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 6
     Attorneys for Plaintiff
 7   National Specialty Pharmacy, LLC

 8                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
 9
     NATIONAL SPECIALTY PHARMACY,                 )
10   LLC                                          )   Case Number: 23-cv-04357-NW
11                                                )
                           Plaintiff,             )   STIPULATION PURSUANT TO
12                                                )   F.R.C.P. RULE 41(a)(1)(A)(ii) TO
            vs.                                   )   DISMISS DEFENDANT
13                                                )   BENJAMIN D. BROWN
     SAMEER PADHYE, an individual,                )
14   BENJAMIN D. BROWN, an                        )   Hon. Noël Wise
     individual, and DOES 1 to 49,                )
15
     inclusive,                                   )
16                        Defendants.             )
17                                                )

18          Pursuant to Federal Rules of Civil Procedure, Rule 41(a)(1)(A)(ii), Plaintiff National
19   Specialty Pharmacy, LLC; Defendant Sameer Padhye; and Defendant Benjamin D. Brown
20   respectfully submit this Stipulation and Proposed Order to dismiss Defendant Benjamin D. Brown
21   from this Action without prejudice.
22          WHEREAS, Plaintiff National Specialty Pharmacy, LLC and Defendant Benjamin D.
23   Brown have agreed to a settlement of their dispute, including Mr. Brown’s dismissal from this
24   Action without prejudice;

25          WHEREAS, Defendant Sameer Padhye consents and stipulates to the dismissal of Mr.

26   Brown from this Action;

27          NOW THEREFORE, in consideration of the foregoing, the parties hereby STIPULATE

28   and AGREE as follows:

                                                    1
                       Stipulation for Dismissal of Defendant Benjamin D. Brown
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 1          That Defendant Benjamin D. Brown be dismissed from this Action without prejudice,
 2   with Defendant Brown and Plaintiff National Specialty Pharmacy LLC to bear their own costs
 3   and fees.
 4          IT IS SO AGREED AND STIPULATED.
 5
 6     Dated: February 25, 2025               DHILLON LAW GROUP INC.

 7                                             /s/ Nitoj P. Singh
                                              Nitoj P. Singh (SBN 265005)
 8                                            Anthony J. Fusaro, Jr. (SBN 345017)
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13                                            National Specialty Pharmacy, LLC
14     Dated: February 25, 2025               THE LAW OFFICE OF RICHARD H.
15                                            POULSON

16                                              /s/ Richard H. Poulson
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20                                            rich@richardpoulsonlaw.com
21                                            Attorney for Sameer Padhye

22     Dated: February 25, 2025               BENJAMIN D. BROWN
23                                             /s/ Benjamin Daniel Brown
24                                            Benjamin Daniel Brown
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                                                   2
                      Stipulation for Dismissal of Defendant Benjamin D. Brown
